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                                                   RETURN OF SERVICE
 Service of the Summons and complaint was made by DATE
 me(i)                                                          ''...               9 I ( ,X1C-1*---
 NAME OF SERVER (PR/NJ)                           TITLE
                                                          '')
  Check one box below to indicate aljpropriate method of service
                                                                                               '


        D Served personally upon the defendant. Place where served:


        o Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
          and
          discretion then residing therein.

        >'1-               • whom the summons and complaint
        up\Jame of person with                          • were left:                                                   '-
        D Returned unexecuted:


                           Ai
        D Other (specify) :UtçCA. y             6.0
                      j   Q4
                            k-
                                 yr)- ,Li ,--yi
                                              q ,i,,,,'
                                                     ,, - k" c-( s.----- H.
                                          ! ' (i"--' '
                                  -


                                               STATEMENT OF SERVICE FEES
  TRAVEL                               SERVICES                                              TOTAL
           •
                                                 DECLARATION OF SERVER

              I declare under penalty of perjury under the laws of the United States of America that the foregoing
           information
           contained in the Return of Service and Statement of Service Fees is true and correct.


         Executed on
                                        Date                    Signaterver                -                 __,./

                                                                    f 35q   (11111,e- '''''' '
                                                                Address of Server
                                                                                                   r   '   inorilvoistl
                                                                                                              e)-7 ciSt)
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                     UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    EMERSON REDEVELOPERS URBAN
    RENEWAL, LLC,
    Plaintiff

                               V.                     SUMMONS IN A CIVIL CASE
    THE BOROUGH OF EMERSON, NEW
    JERSEY, ET AL.,
    Defendant
                                                      CASE
                                                      NUMBER: 2:20—CV-04728—MCA—MAH

      TO: (Name and address of Defendant):

   Borough of Emerson                        Mayor Daniella DiPoala
   146 Linwood Avenue                        146 Linwood Avenue
   Emerson, New Jersey 07630                 Emerson, New Jersey 07630




       A lawsuit has been filed against you.
        Within 21 days after service of this summons on you (not counting the day you received it)
    -- or 60 days if you are the United States or a United States Agency, or an office or employee of
    the United States described in Fed. R. civ. P. 12 (a)(2) or (3) -- you must serve on the plaintiff
    an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
    Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
    name and address are:
         Joseph B. Fiorenzo, Esq.
         SILLS CUM1VIIS & GROSS P.C.
         One Riverfront Plaza
         Newark, NJ 07102
         973-643-7000
       If you fail to respond, judgment by default will be entered against you for the relief
    demanded in the complaint. You also must file your answer or motion with the court.




     s/ WILLIAM T. WALSH
    CLERK




                                                                 ISSUED ON 2020-04-22 15:13:37, Clerk
                                                                            USDC NJD
